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                                     #:42617


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                            UNITED STATES DISTRICT COURT
15                FOR THE CENTRAL DISTRICT OF CALIFORNIA
16    JENNY LISETTE FLORES; et al.,               Case No. CV 85-4544-DMG
17
              Plaintiffs,
18
                                                  JOINT STATUS REPORT
19
                   v.

20    MONTY WILKINSON, Acting
21
      Attorney General of the United States;
      et al.,
22

23            Defendants.
24

25

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 1
           On December 4, 2020, the Court ordered that the parties should continue to
 2   meet and confer regarding:
 3          (1) preparation of a poster or other methods by which to disseminate
 4
            the Notice of Rights and other suggestions of Amici for notice process;
            and (2) video conference interviews with Class Members and video
 5          inspections of the FRCs.
 6
     ECF No. 1050, ¶ 4. The Court ordered that the parties should provide an update on
 7
     these discussions in a Joint Status Report to be filed by January 22, 2021. In
 8
     accordance with the Court’s order, the parties submit the following updates.
 9

10   (1) preparation of a poster or other methods by which to disseminate the Notice of
11   Rights and other suggestions of Amici for notice process

12         The Court issued an order on January 5, 2021, approving the final Notice of
13   Rights. ECF No. 1056. The parties have continued to meet and confer regarding the
14   ICE Directive, and filed a joint status report regarding those discussions on January
15   12, 2021, ECF No. 1057. Amici are currently preparing the text of a draft poster.
16   Defendants and Plaintiffs are awaiting receipt of the proposed poster, and will
17   review it and discuss with the group as soon as it is received.

18
           Plaintiffs believe the matter of the ICE Directive can be dealt with

19
     independent of when a poster is agreed upon or ordered and its use commenced.

20
     (2) video conference interviews with Class Members and video inspections of the
21
     FRCs
22
           From November 3-10, 2020, Plaintiffs conducted video conference interviews
23
     with Class Members and video inspections at all three of the ICE FRCs. Plaintiffs
24
     have not made any additional requests for interviews or inspections since that time.
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 1
           Plaintiffs intend to conduct video conference interviews with Class Members
 2   and video inspections at selected ICE facilities where Class Members are detained,
 3   including all three of the ICE FRCs, and selected CBP facilities in March 2021.
 4         Because Plaintiffs are stating their intent to conduct interviews and
 5   inspections in March 2021 for the first time in this draft JSR. Defendants will address
 6   those requests and coordinate with Plaintiffs as appropriate if and when such
 7   requests are properly submitted to Defendants.
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     Case 2:85-cv-04544-DMG-AGR Document 1073 Filed 01/22/21 Page 4 of 5 Page ID
                                     #:42620


 1   DATED: January 22, 2021           /s/Peter Schey (with permission)
 2                                     Class Counsel for Plaintiffs
                                       CENTER FOR HUMAN RIGHTS &
 3                                     CONSTITUTIONAL LAW
 4                                     Peter A. Schey
                                       Carlos Holguín
 5

 6   DATED: January 22, 2021           BRIAN BOYNTON
                                       Acting Assistant Attorney General
 7                                     Civil Division
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                                       /s/ Sarah B. Fabian
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     Case 2:85-cv-04544-DMG-AGR Document 1073 Filed 01/22/21 Page 5 of 5 Page ID
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 1                             CERTIFICATE OF SERVICE
 2

 3
           I hereby certify that on January 22, 2021, I served the foregoing pleading on

 4   all counsel of record by means of the District Clerk’s CM/ECF electronic filing
 5
     system.
 6

 7
                                                 /s/ Sarah B. Fabian
 8                                               SARAH B. FABIAN
 9
                                                 U.S. Department of Justice
                                                 District Court Section
10                                               Office of Immigration Litigation
11
                                                 Attorney for Defendants
12

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